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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

WSOU Investments, LLC d/b/a Brazos
Licensing and Development,
                Plaintiff,
                                                C.A. No. 20-1229-CFC
      v.
Xilinx, Inc.,
                Defendant.


      DEFENDANT XILINX, INC.’S PARTIAL MOTION TO DISMISS

       Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Xilinx, Inc. (“Defendant”)

 moves to dismiss the claims in the Complaint (D.I. 1) for induced and contributory

 infringement for failure to state a claim upon which relief can be granted. The

 grounds for this motion are set forth in Defendant’s Opening Brief submitted

 herewith.

  November 9, 2020                          YOUNG CONAWAY STARGATT &
                                            TAYLOR, LLP
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                                   CERTIFICATE OF SERVICE

                 I, Anne Shea Gaza, hereby certify that on November 9, 2020, I caused to be

         electronically filed a true and correct copy of the foregoing document with the

         Clerk of the Court using CM/ECF, which will send notification that such filing is

         available for viewing and downloading to the following counsel of record:

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                 I further certify that on November 9, 2020, I caused a copy of the foregoing

         document to be served by e-mail on the above-listed counsel, and on the following:

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         Dated: November 9, 2020                     YOUNG CONAWAY STARGATT &
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